Case 1:23-cv-24533-DSL Document 1 Entered on FLSD Docket 11/30/2023 Page 1 of 10




  IN THE UN ITED SSATESrDISTRICT COURT IN
   AN D FO R TH E U N ITED STA TE O F A M ERICA
      y(
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 STATE OF AM ERICA SOUTHERN DISTRICT OF FLORIDA to enteran OrderofJEAN-
 ELJE U.RIEL CHARI,EM AONE DISM ISSING THE ABOVE CASE NO;F150)4151-A,AND
 AT THE SAM ETIM E ENTERING JEAN-ELIE URIEL CHARLEM AGNE'S COUNTER
 CLAIM AGAISNT Tc STATE OF FLORIDA A CCORDING TO JEAN-ELIE URIEL
 CHARI,
      EMAGNB'SFINANCm G STATEMENT,DVD'S0FVIDEOTESTIMONIEV ALSO
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Case 1:23-cv-24533-DSL Document 1 Entered on FLSD Docket 11/30/2023 Page 3 of 10




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  2A.-TheAccused jsentjtled fo rdjefbecausekkan-Elie UrielCharlemnglw wasfalsely armsted
  onDeeember18,2015,artdppent7G ysjnjafl.                                                    '
  3A.-TheAecusedisentitledtordiefbecauseJean-EljeUrid Charlemagnewasfalselyarrested
            on July 10,2015.

  4A.-DEMANDS:A 77meWwomenjury.12men/womenjuryl/f7,
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 28 U'S,C'A SECTION 1332

  1.- Bî11ofRights- re;çm ghttoLjfe,Liberty and PursujtofHappiness

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  B,'rhileenth AmendmentoftheConstjtution oftheUnited States;
               c.Tjtle 1S USC Seetion 15819                                                            ,
               d.Title42 USC Section 19949                                                         ,
               e.Tjtle42 U.S.C.A SECTION 1983,                                                                           ,

               e.Artide 6 ofAm ericanConvention ofHuman Rights
  2e-Vjolatîon ofCpnstitutionalSecured Rights

  3--W olatîon ofCivilRights

  4.-Violatjrm pfM irandaRighfs
  5.-M alieîousPmsecutiow grosslwgljgenee,greatjndîffçreneetopersnns,propertyrQrtherjghts
  ofJean-ElieUrjelCbnrlemao eneart4EmmnnuelM iehaelCharlemqgfm,768.73Pulmive
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  DCA 1977)certdenied,355So.2d516(1978),Burnsv.GCC Beverages,Inc',502 Soezd 1217
  @'la-19$6)9Adnm v.Whitfidd,290So.d49(Fja.1974)
 6.-Jean-ElieUrielChnrlemagne'slmlswfulimprisopment9om July 10,2015toAugust2,2015.
 Title42 U-S-C-A SECTION 1983,

  7.-Jean-rlieUrielChsrlem agne'sllnlpwfularreston July 10,2015. Title42 U'S.C,A'SECTION


  8--Jean-Elk Urid Cbarlemnglw sentmotiontodismissunder(m le 121)forlaekofJurjsdiçtilm,
  failuretostnteaclaîm uptm whichrdkfçanbegranted,Motilm QfJubidalNotiee,Motitm fo
  DjschsrgePublicDefender,M otion(In Limine)toincludeevjdencea1lwassent(m the
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 9.-Jean-Blj:Urjd Charktrtapw sçntm otilm fIIreçnnsîderunderm le7.192 rla,R,Crjm ,P,

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      k an-ElfeUrielCharlemagne sentm otionfora rehearktg underm je0,192 Fla,R,Crjm ,P,

  11e-Publjcçkfenderts)wasMppointedagainstfhewillofJean-EljeUrielCharlemngne,
  12.-Publîcdefenderls)wasandhasbeenconpletelyjneffective,
  13--Jean-ElieUrielChsrlemagnesenta fax to CristinaM iranda'scham berson 10-10-2015 to
 havemotiontodismissunderrule12(b)forJaekofJurisdjctionrfailuretostateaelaim ppon
 whiclzreliefcouldbegjataed,MotionofJudidalNotjce,MotionfoDischargePubljeDefendtr,
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  14.-AdministratorCristinnM irandastruckmotiontodismissunder12(b)forlackof                                  '
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Case 1:23-cv-24533-DSL Document 1 Entered on FLSD Docket 11/30/2023 Page 5 of 10




  15.-AdministratorCrjstinaM irandadiilnotruleontheMotion çfJudidalNotîce,M otion ttl
 DîsehargePublicDefender,Motjon(JnLjmilw)tojndudeevjlknce,
 16--Adm înistratorCristina M irandaordered theAccused to beevaluated to seeiftheAecused îs
 corppetentevaluation ofdefqndnntformentalillnesspursuantto section 916,115,Florjda statutes
 and Fla,R,Crjm ,P,3-21lby Dr,Dayra.Bodan,

  17--A1lofthi:isacllmulativeeffectQfçsconstitutionalelw r''and materiajly harmfulfhusfar.
  18,-Jean-ExeUrjd Cbnrsem agnehasbçen outon bpnd sinceJean-Elîe Urjd Chsrkm aglw was
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 19.-Jean-rljeUrîelClmrlem agneattempted toaddressthebtm djssueon 10-13-2915,bufflw
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 20,-On Deeember14,2015 Jean-ElivUrielChsrjemagnerductantly underAdm inistratpr's
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 M iami,Vkgim Oarderls,Florida73166,Phone 3054 714 131fo attempt,
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 competentevaluation.

 21.-On oraboutDecember13r2015 Jean-Elie UdelCharlemagtw sentanotnrîzed letlerto
 TherypeuticAllîanceaddressed to Dr,DayraBodan atM iamiVkginaGardens,Fsorida33166,
 Phonenllm ber305-871-3171.
 22.-Theletterstated Jean-Elie UrjelCharlemegne'sintentions,andhisdesireto notbearm sted
 basedonex parte com municatiorlsbetween CristinaM iranda andD r,Dayrasodan forlmt
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 23,-On Decem ber1C,2015 Jean-FljeUrjelCharlemagnewasarmsted i.
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 MirandaforContemptofCourt.Jean-ElieUrjd Charkmagqespent7daysinlail.

 24,-Insuftk iençy of
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 25--Violation Qfpean-ElieUrîelClmr.
                                   lem agne'sdueprocessrights.
 26,-Jean-ElieU rîelChnrlem agne no longerfçds safe rîdjng hi5bîcycle on the streetspfM iam i-
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Case 1:23-cv-24533-DSL Document 1 Entered on FLSD Docket 11/30/2023 Page 6 of 10



  27,- JeanzElieUrgelCharlemagnehasbeen denivd enploymqntby PizgnH ut12699NI
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  2S,-Jean-EljeUrfd Chatlemqglw hasbeendenîedaSecurt jjeenm fmm FloridaDeparlmçnfok
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  29.-Jean-Elie UrielCharlem apw h'Jsbeen denied aconceàlweyponslicerxsefrom Florida
  Departm entofAglicultureand ConsumtrsServjces.

  30,-Jean-rlje Urfd Charlem agnewasarrested by ShedffCharleston County hzJamesIslartd jn
  SouthCarolinacasenumber2922-909574onJuly2Q*,2922beçauseofthe$5,090,0004ollar
  warrant

  71,-Jean-ElicUrjelChnrlem agnewasAlm ostarmsted whjlerçpatriating into theUnited Sfatesof
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  Com titutionalsvjolatjonsandhavecatlsed see usjnyparablehsrm to others.
  36..Jean-Elie UdelChsrlemagnenevercommitted any feloniousactswithin any ofthe orîginal
  thargesorsince.
  37,-Jean-Elje Urid Chnrlemqpw wasnevergiven an evîdentfaryhearjng.
  78,-Tlw Gm atSfateofFlçddantverhnd anjmportantjnterestjn prosecuting pean-plieUrjel
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  49,-Jean-rlieUrjd Chadem aglw hasestablished thathecannothaveFedem lCenstîttlfional
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Case 1:23-cv-24533-DSL Document 1 Entered on FLSD Docket 11/30/2023 Page 7 of 10


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  41.-'rhestatecourtandtheAppellatecouxsofAppealarexmtaddressing any ofPetitîoner's
  claimsbecauseorwastfoavojdPetitfoner'saëfljty'of-exlzaustizv andrypmg
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  DISTRICT COURT m ANlDFOR TIV SOUTIV RN DISTRICT OF FLORID A tp enftraq
  Or4erDISM ISSm G TIIE ABOVB CASB NO ;F15-0114151,M D AT THE SAM ETIM .E
  BNTERTNO TEAN-ELIE URIEL CH ART,EM AGNE'S COUNTER CLAIM AGN SNT THE
  STATEOFFLORIDAACCORDIN/TOJEAN-ELIEURIELCHARI,EMAGNE'S,
  FINANCING STATEG NTAU ACHEDHEltEm ,DVD'SOFVID/O TESTIMONIES,
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